 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 1 of 6 PageID: 51



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



FRANK X. BERCKMAN,
                                       Civil Action No. 07-5245 (JBS)
                  Plaintiff,

      v.                                      MEMORANDUM OPINION

UNITED PARCEL SERVICE, et al.,

                  Defendants.



APPEARANCES:

Richard M. Pescatore, Esquire
1055 East Landis Avenue
Vineland, NJ 08360-4041
     Attorney for Plaintiff

Michael J. Wietrzychowski, Esquire
SCHNADER, HARRISON, SEGAL & LEWIS, LLP
Woodland Falls
Corporate Park
220 Lake Drive East
Suite 200
Cherry Hill, NJ 08002-1165
     Attorneys for Defendants


SIMANDLE, District Judge:

     The above-captioned employment case, arising under New

Jersey Law, was recently removed to this Court by the defendants

and it was filed on October 31, 2007 in the above docket.            As in

all cases, this Court reviews newly-filed matters to determine

whether there is any question of subject matter jurisdiction.

“[T]he district court may and should always determine sua sponte

whether its subject-matter jurisdiction has been properly invoked
 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 2 of 6 PageID: 52



by a removal petitioner.”      Martin v. Wilkes-Barre Pub. Co., 567

F. Supp. 304, 306 (M.D. Pa. 1983).        See also Medlin v. Boeing

Vertol Co., 620 F.2d 957, 960 (3d Cir. 1980) (“failure to

challenge removal cannot confer subject matter jurisdiction which

it does not otherwise possess upon the federal district court”).

Where it appears that the Court lacks subject matter jurisdiction

over a removed case, the Court shall remand it.          28 U.S.C. §

1447(c) (“If at any time before final judgment it appears that

the district court lacks subject matter jurisdiction, the case

shall be remanded.”).

     The defendant, as the party seeking to remove this case,

bears the burden of showing, at all stages of the litigation,

that the case is properly before the federal court.           Samuel-

Bassett v. Kia Motors America, Inc., 357 F.3d 392, 396 (3d Cir.

2004).   Accordingly, the Court has examined the Notice of Removal

in which the defendant’s jurisdictional position is set forth.

     In this case, the sole basis for removal is diversity of

citizenship.   See 28 U.S.C. §§ 1332 and 1441(a).         The plaintiff

is a New Jersey citizen, while Defendant United Parcel Service is

a Delaware corporation with a principal place of business in

Georgia, and UPS alleges that the co-defendant, Norman Perkins,

who is also a New Jersey resident, has been fraudulently joined

and his citizenship should be disregarded.         If Perkins'

citizenship is disregarded under the fraudulent joinder rule,


                                     2
 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 3 of 6 PageID: 53



then the case was properly removable, assuming also that the

amount in dispute exceeds $75,000 pursuant to 28 U.S.C. § 1332.

     To show that Perkins was fraudulently joined, and that his

citizenship may be disregarded, Defendant UPS must demonstrate

that “there is no reasonable basis in fact or colorable ground

supporting the claim against the joined defendant, or no real

intention in good faith to prosecute the action against the

defendant or seek a joint judgment.”        In re Briscoe, 448 F.3d

201, 216 (3d Cir. 2006) (quoting Abels v. State Farm Fire & Cas.

Co., 770 F.2d 26, 32 (3d Cir. 1985)) (citation and quotation

marks omitted).    Such a claim against a non-diverse defendant

must be “wholly insubstantial and frivolous” to be considered

fraudulent, Briscoe at 217, quoting Batoff v. State Farm Ins.

Co., 977 F.2d 848, 851-52 (3d Cir. 1992).         Although fraudulent

joinder determinations are often made in the context of a remand

motion, there is no requirement that this be so, given the

fraudulent joinder issue raised and briefed by the removing party

in the removal petition itself, and given this Court’s authority

to determine its own jurisdiction without necessity of formal

motion practice under Fed. R. Civ. P. 12(h)(3) and 28 U.S.C. §

1447(c).

     The citizenship of Norman Perkins should not be disregarded

under the fraudulent joinder rule.        The Complaint alleges that

Norman Perkins aided and abetted the unlawful actions of the

employer, UPS, in violation of the New Jersey Law Against


                                     3
 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 4 of 6 PageID: 54



Discrimination.    (Second Count, paragraph 1.)        Although Mr.

Wietrzychowski’s Notice of Removal acknowledges that an

individual employee may be liable under the New Jersey Law

Against Discrimination for aiding and abetting pursuant to N.J.

Stat. Ann. § 10:5-12e, Mr. Wietrzychowski makes an argument that

is better raised as a motion to dismiss for failure to state a

claim,1 or for summary judgment because it turns upon the facts.

Whether or not defendant Perkins may be proved to be an aider-

and-abetter under the New Jersey Law Against Discrimination is a

matter that must be determined in due course, and not upon a

petition for removal.     Unless the joinder of Perkins was

fraudulent, however, the merits cannot be addressed because this

Court lacks jurisdiction to do so.        Ultimately, Plaintiff will be

required to prove that Mr. Perkins (1) aided UPS in performing a

wrongful act that causes an injury; (2) was generally aware of

his role as part of an overall illegal or tortious activity at

the time he provided assistance; and (3) knowingly and

substantially assisted the principal violation.          Tarr v.

Ciasulli, 181 N.J. 70, 84 (2004)(citing Hurley v. Atlantic City

Police Dep’t, 174 F.3d 95, 127 (3d Cir. 1999)).

     The Court disagrees with Defendant’s assertion that the

language of the Complaint precludes Plaintiff from meeting this



     1
       Defendant Perkins has filed a motion to dismiss for
failure to state a claim on November 7, 2007 (Docket Item 5).
Such a motion cannot be decided unless this Court has subject
matter jurisdiction.

                                     4
 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 5 of 6 PageID: 55



standard as the case develops; Plaintiff is not required to prove

his case against Mr. Perkins in order to overcome the “fraudulent

joinder” accusation.     Because “fraudulent joinder” is a legal

conclusion necessary to establish subject matter jurisdiction

upon this removal, the Defendant has the burden to show that the

law would not permit a recovery against Perkins.          The Complaint

against Mr. Perkins satisfies the notice pleading requirements

and alleges that Perkins in fact is an aider-and-abetter, having

participated in the employer’s refusal to provide reasonable

accommodation, and thereby may be liable under the New Jersey Law

Against Discrimination.      The identification of Mr. Perkins as a

defendant against whom NJLAD liability is alleged suffices to

count him as a party for jurisdictional purposes.           Nothing in the

Complaint negates Plaintiff’s ability to satisfy the three prongs

of aider-and-abetter liability.       Even if there is legal ambiguity

as to the satisfaction of these required elements of proof, any

such ambiguity as to the current state of controlling substantive

law is also to be resolved in favor of the plaintiff.           Batoff,

supra, 977 F.2d at 852.

     Accordingly, this Court cannot conclude that the joinder of

Mr. Perkins was fraudulent or that his citizenship should be

disregarded.   Likewise, this Court does not predict whether or

not Plaintiff’s claim against Mr. Perkins will be meritorious,

nor does the Court decide whether Plaintiff’s complaint against

Perkins can survive a motion to dismiss for failure to state a


                                     5
 Case 1:07-cv-05245-JBS-JS Document 6 Filed 11/14/07 Page 6 of 6 PageID: 56



claim or a motion for summary judgment.         The Complaint, on its

face, is sufficient to retain Mr. Perkins as a party because it

clearly alleges aider-and-abetter liability under the NJLAD

against him as an individual.       Such a claim does not lie within

the jurisdiction of this Court because Plaintiff and Defendant

Perkins are both citizens of New Jersey.         The case must be

remanded.

     In the event that Mr. Perkins is dismissed from this suit at

some future date, the case will, for the first time, become

properly removable to the Federal Court on the basis of diversity

of citizenship.    See 28 U.S.C. § 1446(b).       So long as Mr. Perkins

is a defendant accused of a cognizable violation of the New

Jersey Law Against Discrimination, his citizenship matters and

defeats diversity jurisdiction.

     For these reasons, the Court concludes that diversity

jurisdiction is lacking and this Court will remand the case to

the Superior Court of New Jersey, Atlantic County, for further

proceedings.

            The accompanying Order will be entered.




November 14, 2007                  s/ Jerome B. Simandle
Date                               JEROME B. SIMANDLE
                                   United States District Judge




                                     6
